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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                              )
In re:                                                        )        Chapter 11
                                                              )
BCBG MAX AZRIA GLOBAL HOLDINGS,                               )        Case No. 17-10466 (SCC)
LLC, et al.,1                                                 )
                                                              )
                                   Debtors.                   )        (Jointly Administered)
                                                              )

                          NOTICE OF FILING OF PLAN SUPPLEMENT

        PLEASE TAKE NOTICE THAT on June 23, 2017, the United States Bankruptcy
Court for the Southern District of New York (the “Court”) entered an order (the “Disclosure
Statement Order”), (a) authorizing BCBG Max Azria Global Holdings, LLC and its affiliated
debtors and debtors in possession (collectively, the “Debtors”), to solicit acceptances for the
Amended Joint Plan of Reorganization of BCBG Max Azria Global Holdings, LLC and its
Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code (as modified, amended, or
                                            2
supplemented from time to time, the “Plan”); (b) approving the Disclosure Statement Relating to
the Amended Joint Plan of Reorganization of BCBG Max Azria Global Holdings, LLC and its
Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code (the “Disclosure Statement”)
as containing “adequate information” pursuant to section 1125 of the Bankruptcy Code;
(c) approving the solicitation materials and documents to be included in the solicitation
packages; and (d) approving procedures for soliciting, receiving, and tabulating votes on the Plan
and for filing objections to the Plan.

       PLEASE TAKE FURTHER NOTICE THAT as contemplated by the Plan and the
Disclosure Statement Order approving the Disclosure Statement, the Debtors filed the Plan
Supplement with the Court on July 12, 2017. The Plan Supplement will include the following
materials in connection with confirmation (each as defined in the Plan): (a) Schedule of
Assumed Executory Contracts and Unexpired Leases; (b) Schedule of Retained Causes of
Action; (c) the identity and terms of compensation of the Plan Administrator; (d) the Royalty
Sharing Agreement; (e) the Wind Down Budget; and (f) the transition services agreement
between the OpCo Purchaser and the Post-Effective Date Debtors.



1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, include: BCBG Max Azria Global Holdings, LLC (6857); BCBG Max Azria Group, LLC (5942);
    BCBG Max Azria Intermediate Holdings, LLC (3673); Max Rave, LLC (9200); and MLA Multibrand
    Holdings, LLC (3854). The location of the Debtors’ service address is: 2761 Fruitland Avenue, Vernon,
    California 90058.
2
    Capitalized terms not otherwise defined herein shall have the same meanings set forth in the Disclosure
    Statement.
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       PLEASE TAKE FURTHER NOTICE THAT the hearing at which the Court will
consider Confirmation of the Plan (the “Confirmation Hearing”) will commence on July 25,
2017, at 9:00 a.m. prevailing Eastern Time, before the Honorable Shelley C. Chapman, in the
United States Bankruptcy Court for the Southern District of New York, located at One Bowling
Green, New York, New York 10004-1408.

        PLEASE TAKE FURTHER NOTICE THAT the deadline for filing objections to the
Plan is July 17, 2017, at 4:00 p.m. prevailing Eastern Time (the “Plan Objection Deadline”).
Any objection to the Plan must: (a) be in writing; (b) conform to the Bankruptcy Rules, the
Local Rules, and any orders of the Court; (c) state, with particularity, the basis and nature of any
objection to the Plan and, if practicable, a proposed modification to the Plan that would resolve
such objection; and (d) be filed with the Court (contemporaneously with a proof of service) and
served upon the following parties so as to be actually received on or before July 17, 2017, at
4:00 p.m. prevailing Eastern Time:

 Debtors                                           Counsel to the Debtors

 BCBG Max Azria Global Holdings, LLC               Kirkland & Ellis LLP
 2761 Fruitland Avenue,                            300 North LaSalle
 Vernon, California 90058                          Chicago, Illinois 60654
 Attn: Erica Alterwitz Meierhans                   Attn: Benjamin M. Rhode
                                                          John R. Luze

 United States Trustee                             Counsel to the Committee

 Office of the United States Trustee for the       Pachulski Stang Ziehl & Jones LLP
 Southern District of New York                     780 Third Avenue, 34th Floor
 201 Varick Street, Suite 1006                     New York, New York 10017-2024
 New York, New York 10014                          Attn: Bradford Sandler
 Attn: Brian Masumoto                                     Robert Feinstein

 Administrative agent under the Debtors’           Administrative agent under the Debtors’
 prepetition and postpetition asset-based          prepetition and postpetition term loan
 revolving credit facilities                       credit facility

 Morgan, Lewis & Bockius LLP                       Weil, Gotshal & Manges LLP
 One Federal Street                                767 Fifth Avenue
 Boston, Massachusetts 02110                       New York, New York 10153
 Attn: Julia Frost-Davies                          Attn: Matt Barr
        Christopher L. Carter

        PLEASE TAKE FURTHER NOTICE THAT if you would like to obtain a copy of the
Disclosure Statement, the Plan, the Plan Supplement, or related documents, you should contact
Donlin, Recano & Company, Inc., the voting and claims agent retained by the Debtors in these
chapter 11 cases (the “Voting and Claims Agent”), by: (a) calling the Debtors’ restructuring
hotline at (866) 406-2290; (b) visiting the Debtors’ restructuring website at:
https://www.donlinrecano.com/bcbg; and/or (c) writing to Donlin, Recano & Company, Inc.,
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Attn: BCBG Max Azria Global Holdings, LLC Ballot Processing, c/o Donlin, Recano &
Company, Inc., 6201 15th Avenue, Brooklyn, NY 11219. You may also obtain copies of any
pleadings filed in these chapter 11 cases for a fee via PACER at: http://www.nysb.uscourts.gov.


               Article VIII of the Plan contains Release, Exculpation, and
        Injunction Provisions, and Article VIII.D contains a Third-Party Release.
Thus, you are advised to review and consider the Plan carefully because your rights might
                                  be affected thereunder.

This Notice is being sent to you for informational purposes only. If you have questions with
 respect to your rights under the Plan or about anything stated herein or if you would like
          to obtain additional information, contact the Voting and Claims Agent.



Dated: July 12, 2017                /s/ Joshua A. Sussberg
                                    Joshua A. Sussberg, P.C.
                                    Christopher Marcus, P.C.
                                    KIRKLAND & ELLIS LLP
                                    KIRKLAND & ELLIS INTERNATIONAL LLP
                                    601 Lexington Avenue
                                    New York, New York 10022
                                    Telephone:     (212) 446-4800
                                    Facsimile:     (212) 446-4900
                                    - and -
                                    James H.M. Sprayregen, P.C.
                                    Benjamin M. Rhode (admitted pro hac vice)
                                    KIRKLAND & ELLIS LLP
                                    KIRKLAND & ELLIS INTERNATIONAL LLP
                                    300 North LaSalle Street
                                    Chicago, Illinois 60654
                                    Telephone:     (312) 862-2000
                                    Facsimile:     (312) 862-2200

                                    Counsel to the Debtors and Debtors in Possession
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                                          Exhibit A

             Schedule of Assumed Executory Contracts and Unexpired Leases

        This schedule includes Executory Contracts and Unexpired Leases the Debtors currently
contemplate assuming (or assuming and assigning) pursuant to Article V.A of the Plan. The
Debtors’ review and analysis remains ongoing and they reserve the right to amend this schedule
as set forth in Article V of the Plan.
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                                                                                                            Amount Required to Cure
           Counterparty / Counterparties                           Description of Contract                                                     Assignee (if Applicable)
                                                                                                           Default Thereunder, If Any
 1 Clear Vision Optical Company, Inc.             Second Renewal of and Amendment to the $                                        -     Marquee Brands, LLC
                                                  Manufacturing Licensing Agreement dated as of January
                                                  1, 2013
 2 SBBG, LLC, Signal Brands, LLC                  License Agreement, dated as of February 17, 2017      $                         -     Marquee Brands, LLC
 3 GBG USA Inc.                                   License Agreement dated as of March 30, 2017          $                         -     Marquee Brands, LLC
 4 Fashion Funding, LLC, GLAC Holdings, LLC, Contribution Agreement dated as of January 26, 2015        $                         -     Marquee Brands, LLC
   and the Members and Stockholders party thereto

 5 2761 Fruitland Avenue, L.L.C.                    Real Property Lease (Corporate Offices)                $                207,924     GBG USA INC.
 6 4701 Santa Fe Avenue, L.L.C.                     Real Property Lease (Distribution Center)              $                154,206     GBG USA INC.
 7 Judith Halevi d/b/a Halevi Ventures              Real Property Lease (Store 373, New York, NY)          $                 81,464     GBG USA INC.
 8 CPG Partners, L.P.                               Real Property Lease (Store 415, Central Valley, NY)    $                 51,022     GBG USA INC.
 9 The Irvine Company LLC                           Real Property Lease (Store 611, Newport Beach, CA)     $                      -     GBG USA INC.
10 The Retail Property Trust                        Real Property Lease (Store 616, Atlanta, GA)           $                 54,064     GBG USA INC.
11 Somerset Collection Limited Partnership          Real Property Lease (Store 617, Troy MI)               $                 75,832     GBG USA INC.
12 Fashion Valley Mall, LLC                         Real Property Lease (Store 624, San Diego, CA)         $                 54,617     GBG USA INC.
13 Beachwood Place Mall, LLC                        Real Property Lease (Store 627, Beachwood, OH)         $                    334     GBG USA INC.
14 HG Galleria I, II, III L.P.                      Real Property Lease (Store 628, Houston, TX)           $                 41,327     GBG USA INC.
15 The Shops and Garage at Canal Place L.L.C.       Real Property Lease (Store 633, New Orleans, LA)       $                      -     GBG USA INC.
16 Forbes Taubman Orlando, L.L.C.                   Real Property Lease (Store 667, Orlando, FL)           $                 51,904     GBG USA INC.
17 Sherman Oaks Fashion Associates, LP              Real Property Lease (Store 672, Sherman Oaks, CA)      $                      -     GBG USA INC.
18 738 Lincoln Road, LLC                            Real Property Lease (Store 676, Miami Beach, FL)       $                 73,649     GBG USA INC.
19 Westfield Topanga Owner LLC                      Real Property Lease (Store 705, Canoga Park, CA)       $                 26,518     GBG USA INC.
20 Aventura Mall Venture                            Real Property Lease (Store 707, Aventura, FL)          $                 76,820     GBG USA INC.
21 PES Partners, LLC                                Real Property Lease (Store 715, El Segundo, CA)        $                 22,792     GBG USA INC.
22 JRA HHF VENTURE, LLC                             Real Property Lease (Store 727, Pembroke Pines, FL)    $                      -     GBG USA INC.
23 Green 461 Fifth Lessee LLC                       Real Property Lease (Store 735, New York, NY)          $                      -     GBG USA INC.
24 Tampa Westshore Associates Limited Partnership   Real Property Lease (Store 761, Tampa, FL)             $                 40,020     GBG USA INC.

25 Twelve Oaks Mall, LLC                            Real Property Lease (Store 762, Novi, MI)              $                 24,126     GBG USA INC.
26 CP Commercial Delaware, LLC                      Real Property Lease (Store 765, Westlake, OH)          $                 13,663     GBG USA INC.
27 CPG Partners, L.P.                               Real Property Lease (Store 401, Cabazon, CA)           $                      -     GBG USA INC.
28 CPG Partners, L.P.                               Real Property Lease (Store 405, Camarillo, CA)         $                      -     GBG USA INC.
29 San Marcos Premium Outlets II                    Real Property Lease (Store 414, San Marcos, TX)        $                      -     GBG USA INC.
30 Chelsea Orlando Development, LP                  Real Property Lease (Store 421, Orlando, FL)           $                      -     GBG USA INC.
31 Chelsea Allen Development, L.P.                  Real Property Lease (Store 425, Allen, TX)             $                      -     GBG USA INC.
32 Orlando Outlet Owner, LLC                        Real Property Lease (Store 448, Orlando, FL)           $                      -     GBG USA INC.
33 International Gateway Associates, LLC            Real Property Lease (Store 452, San Ysidro, CA)        $                      -     GBG USA INC.
34 Sunrise Mills (MLP), LP                          Real Property Lease (Store 474, Sunrise, FL)           $                      -     GBG USA INC.
35 Simon/Chelsea Las Vegas Development, LLC         Real Property Lease (Store 489, Las Vegas, NV)         $                      -     GBG USA INC.
36 Livermore Premium Outlets, LLC                   Real Property Lease (Store 512, Livermore, CA)         $                      -     GBG USA INC.
37 Westchester Mall, LLC                            Real Property Lease (Store 607, White Plains, NY)      $                      -     GBG USA INC.
38 King of Prussia Associates                       Real Property Lease (Store 610, King of Prussia, PA)   $                      -     GBG USA INC.
39 Galleria Mall Investors, LP                      Real Property Lease (Store 614, Dallas, TX)            $                      -     GBG USA INC.
40 The Retail Property Trust                        Real Property Lease (Store 620, Garden City, NY)       $                      -     GBG USA INC.
41 The Town Center at Boca Raton Trust              Real Property Lease (Store 649, Boca Raton, FL)        $                      -     GBG USA INC.
42 SPG Center, LLC                                  Real Property Lease (Store 664, Palo Alto, CA)         $                      -     GBG USA INC.
43 The Domain Shopping Center LP                    Real Property Lease (Store 712, Auston, TX)            $                      -     GBG USA INC.
44 ABQ Uptown, LLC                                  Real Property Lease (Store 716, Albuquerque, NM)       $                      -     GBG USA INC.
45 Forum Shops, LLC                                 Real Property Lease (Store 748, Las Vegas, NV)         $                      -     GBG USA INC.
46 Simon Property Group (Texas), LP                 Real Property Lease (Store 749, McAllen, TX)           $                      -     GBG USA INC.
47 SDG Fashion Mall LP                              Real Property Lease (Store 702, Indianapolis, IN)      $                      -     GBG USA INC.
48 Shopping Center Associates                       Real Property Lease (Store 743, Edison, NJ)            $                      -     GBG USA INC.
49 La Cienega Partners, LP                          Real Property Lease (Store 764, Los Angeles, CA)       $                  73,813    GBG USA INC.
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                                                                                                           Amount Required to Cure
           Counterparty / Counterparties                          Description of Contract                                                    Assignee (if Applicable)
                                                                                                          Default Thereunder, If Any
50 Bloomingdale's Inc.                             Department License Agreement dated as of July 19, $                           -     GBG USA INC.
                                                   2004, as amended by that certain Amendment to
                                                   Department License Agreement dated as of September
                                                   18, 2008, as further amended by that certain Second
                                                   Amendment to Department License Agreement dated as
                                                   of May 13, 2009, as further amended by that certain
                                                   Third Amendment to Department License Agreement
                                                   dated as of February 27, 2012, as further amended by that
                                                   certain Fourth Amendment to Department License
                                                   Agreement dated as of February 5, 2013, as further
                                                   amended by that certain Fifth Amendment to Department
                                                   License Agreement dated as of June 17, 2013, as further
                                                   amended by that certain Sixth Amendment to Department
                                                   License Agreement dated as of September 24, 2013, as
                                                   supplemented by that certain Letter Agreement dated as
                                                   of December 19, 2013, as further amended by that certain
                                                   Seventh Amendment to Department License Agreement
                                                   dated as of May 21, 2014, as further amended by that
                                                   certain Eighth Amendment to Department License
                                                   Agreement dated as of August 2014, as further amended
                                                   by that certain Ninth Amendment to Department License
                                                   Agreement dated as of November 24, 2015, and as
                                                   further amended by that certain Tenth Amendment to
                                                   Department License Agreement dated as of October 12,
                                                   2016. (Partnershop Agreement)

51 The Higbee Company, Dillard’s Inc., Dillard Store Restated Master License Agreement dated as of May 3, $                      -     GBG USA INC.
   Services, Inc., Dillard’s Dollars, Inc., Dillard 2009, as amended December 26, 2013. (Partnershop
   Tennessee Operating Limited Partnership, Dillard Agreement)
   Texas, LLC, SI Shopping Center Lessors, L.P.,
   Condev Nevada, Inc., Dillard International, Inc.,
   D-Serf Company, LLC, U.S. Alpha, Inc., Dillard
   Investment Co., Inc., Construction Developers,
   Incorporated
52 Lord & Taylor, LLC                                Lord & Taylor Licensed Department Agreement, dated as $                     -     GBG USA INC.
                                                     of 2004, as amended by that Addendum to Licensed
                                                     Department Agreement (Agreement for Internet Sales),
                                                     dated May 2010, and as further amended by that
                                                     Amendment to Lord & Taylor Licensed Department
                                                     Agreement, dated June 1, 2010. (Partnershop Agreement)

53 Macy’s Retail Holdings, Inc.                 Department License Agreement, dated as of October 3, $                      125,215 GBG USA INC.
                                                2003, as amended on November 25, 2005, as further
                                                amended June 28, 2010, as further amended October 10,
                                                2012, as further amended April 22, 2013, as further
                                                amended February 23, 2015, as further amended June 19,
                                                2015, and as further amended January 21, 2016.
                                                (Partnershop Agreement)
54 Hudson's Bay Company                         Licensed Department Agreement , dated as of October 1, $                         -     GBG USA INC.
                                                2012. (Partnershop Agreement)
55 Attitude Concept Group, S.A. de C.V.         Distribution and Retail License Agreement, dated as of $                         -     GBG USA INC.
                                                July 1, 2007, as amended July 30, 2009, July 14, 2010,
                                                February 1, 2012 and August 31, 2014. (Licensing and
                                                Distribution Agreement)
56 Attitude Concept Group, S.A. de C.V.         Distribution    and     Retail   License     Agreement $                         -     GBG USA INC.
                                                (BCBGeneration), dated as of February 1, 2011, as
                                                amended February 1, 2012 and March 2, 2016.
57 Vinds Trading and Services Limited Liability Distribution and Retail License Agreement, dated as of $                         -     GBG USA INC.
   Company                                      February 1, 2015, as amended September 28, 2016.
58 Concept Development Trading                  Retail License Agreement – Second Renewal and $                                  -     GBG USA INC.
                                                Amendment, dated as of February 1, 2012
59 Concept Development Trading                  Retail License Agreement – Third Renewal and $                                   -     GBG USA INC.
                                                Amendment, dated as of February 1, 2016
60 Lineargroup Phils., Inc.                     Retail License Agreement, dated as of February 1, 2012, $                        -     GBG USA INC.
                                                as amended October 1, 2014
61 Los Tres S.A.                                Retail License Agreement, dated as of April 25, 2014, as $                       -     GBG USA INC.
                                                amended December 9, 2015 and July 20, 2016
62 Pribrand Group, S.A.                         First Renewal of Retail License Agreement, dated $                               -     GBG USA INC.
                                                February 1, 2013, as amended February 26, 2015 and
                                                November 1, 2016
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                                                                                                          Amount Required to Cure
            Counterparty / Counterparties                       Description of Contract                                                     Assignee (if Applicable)
                                                                                                         Default Thereunder, If Any
63 PT Mitra Adiperkasa                         Distribution and Retail License Agreement, dated August $                        -     GBG USA INC.
                                               1, 2010, as amended December 18, 2014 and October 30,
                                               2015
64 Reliance Brands Ltd.                        Retail License Agreement, dated April 3, 2013, as $                              -     GBG USA INC.
                                               amended June 8, 2015
65 Reliance Brands Ltd.                        Retail License Agreement (BCBGeneration), dated $                                -     GBG USA INC.
                                               March 2013, as amended May 2014 and November 4,
                                               2016
66 Retail Affair SAL                           First Renewal of Retail License Agreement, dated $                               -     GBG USA INC.
                                               February 1, 2016
67 RSH (Middle East) LLC                       Retail License Agreement, dated September 2012, as $                             -     GBG USA INC.
                                               amended September 22, 2016
68 Wing Tai Fashion SDN BHD (f/k/a DNP Fashion Retail License Agreement, dated February 1, 2011, as $                           -     GBG USA INC.
   Sdn. Bhd.)                                  amended September 27, 2011, October 13, 2014, and
                                               July 19, 2016
69 Wing Tai Clothing Pte Ltd                   Retail License Agreement, dated February 1, 2011, as $                           -     GBG USA INC.
                                               amended July 19, 2016
70 West Coast Distribution, Inc.               Warehousing and Distribution Agreement, dated as of $                            -     GBG USA INC.
                                               June 6, 2016 (Other)
71 Climatec LLC                                Avigilon Electronic Security and Safety System $                                 -     GBG USA INC.
                                               Statement of Work, dated September 8, 2015 (Other)
72 2Link                                       Agreement to provide services (E-Commerce Agreement) $                           -     GBG USA INC.

73 Atlassian                                     Agreement to provide services (E-Commerce Agreement) $                         -     GBG USA INC.

74 Bluecore, Inc.                                Statement of Work, dated as of March 31, 2017 (E- $                            -     GBG USA INC.
                                                 Commerce Agreement)
75 Borderfree, Inc.                              Services Agreement, dated as of December 31, 2013 (E- $                      511     GBG USA INC.
                                                 Commerce Agreement)
76 Demandware, Inc.                              Master Subscription and Services Agreement, dated as of $                518,886     GBG USA INC.
                                                 March 11, 2015, as amended and supplemented (E-
                                                 Commerce Agreement)
77 Fonts.com                                     Agreement to provide services (E-Commerce Agreement) $                         -     GBG USA INC.

78 Narvar Software                               Renewal to Software as Services Agreement, dated April $                  30,000     GBG USA INC.
                                                 1, 2017 (E-Commerce Agreement)
79 PowerReviews, Inc.                            Master Agreement and Service Order dated September $                      33,750     GBG USA INC.
                                                 21, 2015 (E-Commerce Agreement)
80 Priority Fulfillment Services, Inc.           Transaction Management Services Agreement, dated as $                          -     GBG USA INC.
                                                 of May 16, 2012, as supplemented and amended (E-
                                                 Commerce Agreement)
81 Qubit Inc.                                    Qubit Sales Order Form, dated as of March 31, 2016, as $                  53,941     GBG USA INC.
                                                 amended March 30, 2017
82 Rakuten Marketing LLC                         Master Services Agreement, dated as of April 4, 2017 (E- $                     -     GBG USA INC.
                                                 Commerce Agreement)
83 Shoprunner, Inc.                              Participation Agreement, dated April 15, 2016            $                65,030     GBG USA INC.
84 Tealium, Inc.                                 Service Order, dated as of April 24, 2017 (E-Commerce $                   10,125     GBG USA INC.
                                                 Agreement)
85 Yext, Inc.                                    Master Subscription Agreement, dated as of April 28, $                         -     GBG USA INC.
                                                 2017 (E-Commerce Agreement)
86 Adobe                                         Annual services - no contract (IT Agreement)             $                    -      GBG USA INC.
87 Aptos, Inc.                                   Master Agreement, dated as of July 20, 2015, as $                         36,000     GBG USA INC.
                                                 amended (IT Agreement)
88 Comm Vault Systems                            Agreement to provide services - no contract (IT $                              -     GBG USA INC.
                                                 Agreement)
89 Concrete Media Limited                        Customer Agreement, dated as of June 1, 2014 (IT $                        32,000     GBG USA INC.
                                                 Agreement)
90 Dropbox                                       Order Form, dated April 5, 2017 (IT Agreement)           $                     -     GBG USA INC.
91 Fortinet (Optiv)                              Subscription to Fortigate Threat Management - non $                            -     GBG USA INC.
                                                 contract (IT Agreement)
92 Gerber Technology                             Service Agreement, dated as of March 9, 2011 (IT $                        57,901     GBG USA INC.
                                                 Agreement)
93 Gerber Technology                             Software Loan Agreement, dated as of November 27,                   included above GBG USA INC.
                                                 2012 (IT Agreement)
94 GS1 US, Inc.                                  Agreement to provide services - no contract (IT $                              -     GBG USA INC.
                                                 Agreement)
95 Industry Retail Group                         Monthly services - no contract (IT Agreement)            $                     -     GBG USA INC.
96 Intercall (West)                              Agreement to provide services - no contract (IT $                              -     GBG USA INC.
                                                 Agreement)
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             Counterparty / Counterparties                      Description of Contract                                                      Assignee (if Applicable)
                                                                                                          Default Thereunder, If Any
 97 Iron Mountain Records Management, Inc.       Records Management and Service Agreement, dated as $                      227,363     GBG USA INC.
                                                 of December 14, 2000 (IT Agreement)
 98 Key Information Systems, Inc.                Agreement to provide services - no contract (IT $                               -     GBG USA INC.
                                                 Agreement)
 99 Login Consulting Services, Inc.              Agreement to provide services - no contract (IT $                               -     GBG USA INC.
                                                 Agreement)
100 Microsoft Corporation                        Enterprise Enrollment, by and between BCBG Max Azria $                     14,080     GBG USA INC.
                                                 Group, LLC (IT Agreement)
101 Microsoft Corporation                        SQL server subscription - no contract (IT Agreement)  $                        -      GBG USA INC.
102 NuOrder                                      Custom Development for Integration, dated April 12, $                      19,867     GBG USA INC.
                                                 2006 (IT Agreement)
103 NuOrder                                      SOW - Custom Development for Integration, dated as of                included above GBG USA INC.
                                                 September 15, 2016 (IT Agreement)
104 Open Text                                    Monthly subscription services - no contract (IT $                               -     GBG USA INC.
                                                 Agreement)
105 Oracle America                               Statement of Work, dated as of December 9, 2014 (IT $                     225,108     GBG USA INC.
                                                 Agreement)
106 Pinnacle Systems                             Agreement to provide services - no contract (IT $                            4,785    GBG USA INC.
                                                 Agreement)
107 Processweaver, Inc.                          Software License and Maintenance Agreement, dated as $                     14,300     GBG USA INC.
                                                 of September 10, 2013 (IT Agreement)
108 Quantum Corporation                          Agreement to provide services - no contract (IT $                            2,832    GBG USA INC.
                                                 Agreement)
109 Qwest Communications Company (Centurylink)   Total Advantage Agreement, dated May 1, 2015, as $                        194,512     GBG USA INC.
                                                 subsequently amended from time to time and renamed
                                                 Centurylink Total Advantage Agreement (IT Agreement)

110 SAP Retail, Inc. and SAP Industries, Inc.    Software License Agreement, dated August 16, 2007, as $                         -     GBG USA INC.
                                                 supplemented (IT Agreement)
111 Symantec (Optiv)                             Agreement to provide services - no contract (IT $                               -     GBG USA INC.
                                                 Agreement)
112 Unicom                                       Temporary license - no contract (IT Agreement)        $                         -     GBG USA INC.
113 Velocity Technology Solutions, Inc.          Master Agreement, dated May 22, 2015 (IT Agreement) $                       83,572    GBG USA INC.

114 Velocity Technology Solutions, Inc.          Amended and Restated Master Agreement, dated June                    included above GBG USA INC.
                                                 12, 2015 (IT Agreement)
115 Velocity Technology Solutions, Inc.          Mutual Non-disclosure Agreement, dated December 19,                  included above GBG USA INC.
                                                 2014 (IT Agreement)
116 Velocity Technology Solutions, Inc.          Mutual Non-disclosure Agreement, dated July 13, 2015                 included above GBG USA INC.
                                                 (IT Agreement)
117 Velocity Technology Solutions, Inc.          Service Description 005, dated May 22, 2015 (IT                      included above GBG USA INC.
                                                 Agreement)
118 Verizon Business Services                    Master Service Order Form to the US Services $                             11,385     GBG USA INC.
                                                 Agreement, dated as of April 24, 2015 (IT Agreement)
119 Verizon Wireless                             Agreement to provide services (Multiple Retail store data $                23,676     GBG USA INC.
                                                 lines) no contract (IT Agreement)
120 Zones, Inc.                                  Statement of Work, dated July 27, 2016 (IT Agreement) $                         -     GBG USA INC.

121 Zones, Inc.                                  Statement of Work, dated September 16, 2014 (IT $                               -     GBG USA INC.
                                                 Agreement)
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                                     Exhibit B

                        Schedule of Retained Causes of Action
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                                   List of Retained Causes of Action

       Article IV.N of the Amended Joint Chapter 11 Plan of Reorganization of BCBG Max
Azria Global Holdings, LLC [Docket No. 461] (the “Plan”),1 provides as follows:

                In accordance with section 1123(b) of the Bankruptcy Code, but subject to
        Article VIII hereof, the Post-Effective Date Debtors, as applicable, shall retain
        and may enforce all rights to commence and pursue, as appropriate, any and all
        Causes of Action, whether arising before or after the Petition Date, including any
        actions specifically enumerated in the Schedule of Retained Causes of Action, and
        the Post-Effective Date Debtors’ rights to commence, prosecute, or settle such
        Causes of Action shall be preserved notwithstanding the occurrence of the
        Effective Date, other than the Causes of Action released by the Debtors pursuant
        to the releases and exculpations contained in the Plan, including in Article VIII.
        The Post-Effective Date Debtors may pursue such Causes of Action, as
        appropriate, in accordance with the best interests of the Post-Effective Date
        Debtors. No Entity may rely on the absence of a specific reference in the
        Plan, the Plan Supplement, or the Disclosure Statement to any Cause of
        Action against it as any indication that the Debtors or the Post-Effective Date
        Debtors, as applicable, will not pursue any and all available Causes of Action
        against it. The Debtors or the Post-Effective Date Debtors, as applicable,
        expressly reserve all rights to prosecute any and all Causes of Action against
        any Entity, except as otherwise expressly provided in the Plan, including
        Article VIII of the Plan. Unless any Causes of Action against an Entity are
        expressly waived, relinquished, exculpated, released, compromised, or settled in
        the Plan or a Bankruptcy Court order, the Post-Effective Date Debtors expressly
        reserve all Causes of Action, for later adjudication, and, therefore, no preclusion
        doctrine, including the doctrines of res judicata, collateral estoppel, issue
        preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise), or
        laches, shall apply to such Causes of Action upon, after, or as a consequence of
        the Confirmation or Consummation.

                The Post-Effective Date Debtors reserve and shall retain such Causes of
        Action notwithstanding the rejection or repudiation of any Executory Contract or
        Unexpired Lease during the Chapter 11 Cases or pursuant to the Plan. In
        accordance with section 1123(b)(3) of the Bankruptcy Code, any Causes of
        Action that a Debtor may hold against any Entity shall vest in the Post-Effective
        Date Debtors, except as otherwise expressly provided in the Plan, including
        Article VIII of the Plan. The applicable Post-Effective Date Debtors, through
        their authorized agents or representatives, shall retain and may exclusively
        enforce any and all such Causes of Action. The Post-Effective Date Debtors shall
        have the exclusive right, authority, and discretion to determine and to initiate, file,

1   Capitalized terms used but not defined herein have the meanings ascribed to them in the Plan. This Exhibit B
    and any schedules attached hereto remain subject to continuing review and revision by the Debtors. The
    Debtors expressly reserve the right to alter, modify, amend, remove, augment, or supplement this list at any
    time in accordance with the Plan.
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       prosecute, enforce, abandon, settle, compromise, release, withdraw, or litigate to
       judgment any such Causes of Action and to decline to do any of the foregoing
       without the consent or approval of any third party or further notice to or action,
       order, or approval of the Bankruptcy Court.

        Notwithstanding and without limiting the generality of Article IV.N of the Plan, the
following Exhibits B-1 through B-7 includes specific types of Causes of Actions expressly
preserved by the Debtors or the Post-Effective Date Debtors, as applicable, subject to the terms
of the Plan and the information provided in this Exhibit B.

        The Debtors reserve all rights to amend, revise, or supplement this Exhibit B to the Plan
Supplement, and any of the documents and dsignations contained herein, at any time before the
Effective Date of the Plan, or any such date as may be provided for by the Plan or by order of the
Bankruptcy Court.
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                                          Schedule B-1

                             Claims Related to Contracts and Leases

         Unless otherwise released by the Plan, the Debtors and Post-Effective Date Debtors, as
applicable, expressly reserve Causes of Action based in whole or in part on any and all contracts
and leases to which any of the Debtors or Post-Effective Date Debtors is a party or pursuant to
which any of the Debtors or Post-Effective Date Debtors has any rights whatsoever, including
without limitation all contracts and leases that are assumed pursuant to the Plan or were
previously assumed by the Debtors. The claims and Causes of Action reserved include Causes
of Action against vendors, suppliers of goods and services, or any other parties: (a) for
overpayments, back charges, duplicate payments, improper holdbacks, deductions owing or
improper deductions taken, deposits, warranties, guarantees, indemnities, recoupment, or setoff;
(b) for wrongful or improper termination, suspension of services or supply of goods, or failure to
meet other contractual or regulatory obligations; (c) for failure to fully perform or to condition
performance on additional requirements under contracts with any one or more of the Debtors
before the assumption or rejection, if applicable, of such contracts; (d) for payments, deposits,
holdbacks, reserves or other amounts owed by any creditor, utility, supplier, vendor, insurer,
surety, factor, lender, bondholder, lessor or other party; (e) for any liens, including mechanics’,
artisans’, materialmens’, possessory or statutory liens held by any one or more of the Debtors;
(f) arising out of environmental or contaminant exposure matters against landlords, lessors,
environmental consultants, environmental agencies or suppliers of environmental services or
goods; (g) for counter-claims and defenses related to any contractual obligations; (h) for any
turnover actions arising under section 542 or 543 of the Bankruptcy Code; and (i) for unfair
competition, interference with contract or potential business advantage, breach of contract,
infringement of intellectual property or any business tort claims.
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                                          Schedule B-2

                               Claims Related to Insurance Policies

        Unless otherwise released by the Plan, the Debtors expressly reserve all Causes of Action
based in whole or in part upon any and all insurance contracts and insurance policies to which
any Debtor or Post-Effective Date Debtor is a party or pursuant to which any Debtor or Post-
Effective Date Debtor has any rights whatsoever, including Causes of Action against insurance
carriers, reinsurance carriers, insurance brokers, underwriters, occurrence carriers, or surety bond
issuers relating to coverage, indemnity, contribution, reimbursement, or any other matters.
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                                          Schedule B-3

    Claims Related to Deposits, Adequate Assurance Postings, and Other Collateral Postings

       Unless otherwise released by the Plan, the Debtors expressly reserve all Causes of Action
based in whole or in part upon any and all postings of a security deposit, adequate assurance
payment, or any other type of deposit or collateral, regardless of whether such posting of security
deposit, adequate assurance payment, or any other type of deposit or collateral is included herein.
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                                         Schedule B-4

                                    Claims Related to Liens

         Unless otherwise released by the Plan or the Bankruptcy Court’s Final Order authorizing
the Debtors’ use of cash collateral and postpetition financing,2 the Debtors expressly reserve all
Causes of Action based in whole or in part upon any and all liens, regardless of whether such
lien is included herein.




2   See Docket No. 228.
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                                         Schedule B-5

    Claims, Defenses, Cross-Claims and Counter-Claims Related to Litigation and Potential
                                        Litigation

         Unless otherwise released by the Plan, the Debtors expressly reserve all Causes of Action
against or related to all Entities that are party to or that may in the future become party to
litigation, arbitration, or any other type of adversarial proceeding or dispute resolution
proceeding, whether formal or informal or judicial or non-judicial, regardless of whether such
Entity is included herein, including any Causes of Action against the Azria Parties and any
Causes of Action against any of Global Holdings’ direct or indirect non-Debtor subsidiaries.
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                                          Schedule B-6

                 Claims Related to Accounts Receivable and Accounts Payable

        Unless otherwise released by the Plan, the Debtors expressly reserve all Causes of Action
against or related to all Entities that owe or that may in the future owe money to the Debtors or
Post-Effective Date Debtors. Furthermore, the Debtors expressly reserve all Causes of Action
against or related to all Entities who assert or may assert that the Debtors or Post-Effective Date
Debtors, as applicable, owe money to them.
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                                         Schedule B-7

                                Claims Related to Tax Refunds

       Unless otherwise released by the Plan, the Debtors expressly reserve all Causes of Action
against or related to all Entities that owe or that may in the future owe money related to tax
refunds to the Debtors or Post-Effective Date Debtors. Furthermore, the Debtors expressly
reserve all Causes of Action against or related to all Entities who assert or may assert that the
Debtors or Post-Effective Date Debtors owe taxes to them.
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                                                   Exhibit C

                Identity and Terms of Compensation of the Plan Administrator1




1
    The Debtors have not included the identity and terms of compensation of the Plan Administrator in this Plan
    Supplement filing. Under Article IV.E.1 of the Plan, the parties in interest with authority to appoint the Plan
    Administrator will depend on whether Class 6 Unsecured Claims vote as a Class to accept or reject the Plan,
    which will not be known until after the Voting Deadline. The Debtors will amend the Plan Supplement to
    include the identity and terms of compensation of the Plan Administrator at or prior to the Confirmation
    Hearing.
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                                    Exhibit D

                           Royalty Sharing Agreement
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ROYALTY AGREEMENT


This ROYALTY AGREEMENT (“Agreement”) is entered into as of July 31, 2017 (the “Effective Date”)
by and between [BCBG IP Co] (“BCBG IP Co”) and Allerton Funding, LLC (“Allerton”). BCBG IP Co
and Allerton shall each be referred to herein as a “Party” and collectively as the “Parties”.


WHEREAS, Allerton is a lender pursuant to that certain Fifth Amended and Restated Credit and Guaranty
Agreement dated as of August 12, 2016 (the “Prepetition Term Loan Agreement”) by and among BCBG
Max Azria Group, LLC (“BCBG Group”), as a borrower, BCBG Max Azria Global Holdings, LLC
(“Holdings”), BCBG Max Azria Intermediate Holdings, LLC (“Intermediate Holdings”), Max Rave, LLC
(“Max Rave”), and MLA Multibrand Holdings, LLC (“MLA” and with Holdings, Intermediate Holdings,
and Max Rave, each a “Guarantor” and collectively, the “Guarantors” and with BCBG Group, each a
“Debtor” and collectively the “Debtors”), Guggenheim Corporate Funding, LLC, as agent, and the lenders
from time to time party thereto (the “Prepetition Lenders”), whereby the Prepetition Lenders extended
certain term loans to the BCBG Group (the “Prepetition Term Loans”);


WHEREAS, pursuant to the terms of the Prepetition Term Loan Agreement, the Prepetition Lenders were
granted liens on substantially all of the Debtors’ real and personal property assets (including, without
limitation, the Intellectual Property, defined below);

WHEREAS, as of the date hereof, (i) Allerton holds or controls100% of the Tranche A-1 and Tranche A-2
Prepetition Term Loans (the “Allerton Loans”) (and this Agreement relates solely to the Allerton Loans);


WHEREAS, the Debtors filed a voluntary petitions under Chapter 11 of the United States Bankruptcy Code
on February 28, 2017, which are currently being jointly administered in Case No. 17-10466 in the United
States Bankruptcy Court for the Southern District of New York (the “Bankruptcy Case”);


WHEREAS, as part of the Bankruptcy Case, BCBG IP Co acquired certain rights in intellectual property
(the “Intellectual Property”) and Allerton consented to BCBG IP Co acquiring such rights (the
“Acquisition”); and


WHEREAS, in consideration for Allerton’s agreement to accept the treatment of its claims against the
Debtors as set forth in the Plan of Reorganization (including consent to the Acquisition), BCBG IP Co has
agreed to pay certain royalties to Allerton based upon its use of the Intellectual Property and Allerton wishes
to receive such certain royalties from BCBG IP Co, in each case, subject to the terms of this Agreement.


NOW THEREFORE, in consideration of the mutual obligations set forth herein and for other good and
valuable consideration, the receipt and sufficiency of which is hereby acknowledged, the Parties agree as
follows:


1. DEFINITIONS. Terms with initial capital letters have the meaning set forth below or in the section
that defines them, whether used in the plural or singular, in any tense or part of speech, and regardless of
gender. The term “including” means “including, but not limited to”; “or” includes “and/or”; “days” means



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calendar days unless otherwise noted.


    “Bankruptcy Payments” shall mean any cash payments received by Allerton in the Bankruptcy Case
    in respect of its claims against the Debtors.


    “Eligible Royalties” shall mean any royalties earned and received by BCBG IP Co from licenses it
    grants to third parties to use the Intellectual Property less applicable credits, withholding taxes,
    adjustments and marketing contributions.

    “Initial Debt” shall mean fifty-five million U.S. dollars [($55,000,000)].         [NTD – TO BE
    ESTABLISHED BASED ON ALLERTON’S BANKRUPTCY CLAIM]


    “PIK Interest” shall mean an amount equal to ten percent (10%) per annum on the Maximum Royalty
    Amount beginning on the Effective Date, compounded annually beginning on January 1, 2018.

    “Sharing Percentage” shall mean thirty-five percent (35%).

2. ROYALTIES.

    Junior Royalty Payments.


    (a) Beginning on January 1, 2018 and lasting during the Term (as defined below), BCBG IP Co shall
        owe to Allerton royalty amounts equal to the Sharing Percentage multiplied by the applicable
        annual Royalty Base (“Junior Royalty Payments”), which shall be payable as set forth in Section
        2.1(c) below.


    (b) As used herein, the term “Royalty Base” shall mean, for any calendar year, the Eligible Royalties
        received by BCBG IP Co during such calendar year minus the Sharing Threshold for such calendar
        year, as set forth below:

      Calendar Year                          Sharing Threshold
      2018                                   $20,000,000
      2019                                   $25,000,000
      2020                                   $27,000,000
      2021                                   $29,000,000
      2022                                   $31,000,000
      2023                                   $33,000,000
      2024 – 2027                            $35,000,000
      Thereafter (if needed)                 103% of the prior calendar year’s Sharing Threshold

    (c) Within sixty (60) days from the end of any calendar year, BCBG IP Co shall pay the previous
    calendar year’s Junior Royalty Payment to Allerton, and shall send such payment along with a report
    that includes sufficient detail to enable Allerton to reasonably determine how BCBG IP Co calculated
    the amount of such Junior Royalty Payment (each, a “Report”).




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  (d) BCBG IP Co represents and warrants that in establishing the Threshold Amounts, none of the
  expected applicable credits, withholding taxes, adjustments or marketing contributions were taken into
  consideration.


   Maximum Royalty Amount.


  (a) As used herein, the “Maximum Royalty Amount” shall mean the value that is calculated as set
      forth below:


          Initial Debt, plus
          Any unpaid PIK Interest after the application of any Junior Royalty Payments to the PIK
      Interest accrued through the date of such Junior Royalty Payments, minus
          any Bankruptcy Payments, minus
          any remaining portions of the Junior Royalty Payments that were not otherwise applied to the
      outstanding PIK Interest.


  (b) BCBG IP Co shall have no further obligation to pay any Junior Royalty Payments once the
      Maximum Royalty Amount equals zero dollars ($0.00).


3. REPRESENTATIONS AND WARRANTIES.

   By BCBG IP Co. BCBG IP Co represents and warrants that (a) it has the authority to enter into this
   Agreement and (b) its performance under this Agreement will not violate or conflict with any other
   contract to which it is a party or any other obligation.


   By Allerton. Allerton represents and warrants that (a) it has the authority to enter into this Agreement
   and (b) its performance under this Agreement will not violate or conflict with any other contract to
   which it is a party or any other obligation.

   Disclaimer. EXCEPT AS EXPRESSLY SET FORTH IN HEREIN, NEITHER PARTY NOR ITS
   AFFILIATES, LICENSORS, SHAREHOLDERS, DIRECTORS, OFFICERS, EMPLOYEES,
   REPRESENTATIVES, SUBCONTRACTORS, AND AGENTS MAKES ANY WARRANTIES
   AND THEY HEREBY DISCLAIM ANY OTHER WARRANTIES, EXPRESS OR IMPLIED,
   WRITTEN OR ORAL, STATUTORY OR OTHERWISE, ARISING FROM OR RELATED TO
   THIS AGREEMENT AND THE TRANSACTION CONTEMPLATED HEREIN.

4. CONFIDENTIALITY.


   Restrictions on Disclosure. All confidential or otherwise non-public information and materials, all of
   the contents of this Agreement, all information relating to the business, operations and personnel of
   BCBG IP Co or any of its affiliates, in all cases, that Allerton learns or has learned during or prior to
   the Term of this Agreement, including all financial information and business plans relating to the
   business of BCBG IP Co or any of its affiliates, the Reports, and other all confidential or otherwise



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   non-public information and materials, creative concepts, and plans that BCBG IP Co provides to
   Allerton, if any, (“BCBG IP Co Confidential Information”) are BCBG IP Co’s valuable property.
   Allerton acknowledges the need to preserve the confidentiality and secrecy of the BCBG IP Co
   Confidential Information. During the Term of this Agreement and thereafter, Allerton shall not use or
   disclose any of the BCBG IP Co Confidential Information, except for such use by or on behalf of
   Allerton that is necessary to exercise its rights under this Agreement. Allerton shall take all necessary
   steps to ensure that any use by it and those acting on its behalf in connection herewith, its agents,
   independent contractors and suppliers, shall preserve the confidentiality and secrecy of the BCBG IP
   Co Confidential Information. Allerton shall indemnify BCBG IP Co and its Affiliates against any
   damage that may be suffered by any of them as a result of any breach by Allerton or anyone acting on
   its behalf in connection herewith of the provisions of this Section 4.1. The provisions of and the
   obligations of Allerton under this Section 4.1 shall survive Termination.


   Exceptions. BCBG IP Co Confidential Information shall not include any information that: (a) is
   identical to information which can be shown by clear and convincing written evidence to have been
   developed by Allerton or in Allerton’s possession prior to receipt of the same for BCBG IP Co; (b)
   now is or hereafter becomes publicly known through no fault of Allerton; or (c) otherwise becomes
   available to Allerton from a third party that is not under any obligation of confidentiality to BCBG IP
   Co.


5. TERM AND TERMINATION.


   Term. The term of this Agreement shall begin on the Effective Date and shall extend until the earlier
   of: (a) the Maximum Royalty Amount equaling zero dollars ($0.00), and (b) the mutual agreement of
   the Parties (the “Term”). This Agreement may not be terminated except a set forth in this Section 5.1.


6. LIMITATION OF LIABILITY. NEITHER PARTY WILL BE LIABLE TO THE OTHER PARTY,
OR TO ANY THIRD PARTY, FOR ANY CONSEQUENTIAL, INDIRECT, SPECIAL, INCIDENTAL
OR EXEMPLARY DAMAGES, WHETHER FORESEEABLE OR UNFORESEEABLE, EVEN IF SUCH
PARTY HAS BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES, ARISING OUT OF OR
RELATING TO THIS AGREEMENT. BCBG IP CO IS NOT A GUARANTOR OF ANY AMOUNT
OWED TO ALLERTON BY ANY OTHER ENTITY, INCLUDING WITHOUT LIMITATION, BCBG.

7. NEGATIVE COVENANTS.


   Liens. BCBG IP Co shall not grant any third party a lien or other encumbrance on the Intellectual
   Property or enter into any agreement that would condition or prohibit the payment of the Junior
   Royalty Payments; provided, however, that, for purposes of clarification, the terms of licensing
   agreements entered into in the ordinary course of business such as indemnification provisions and
   other customary provisions shall not be deemed to directly limit the making of the Junior Royalty
   Payment.

   Transfers of Intellectual Property. BCBG IP Co must obtain the consent of Allerton to any transfer all
   or substantially all the Intellectual Property unless such sale is consummated in connection with a bona
   fide third party sale to a party capable of (or with licensing or related contracts with parties capable




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   of) operating the Intellectual Property in the manner operated by BCBG IP Co (or its licensees and
   operators) and provided that the transferee agrees to assume the obligations under this Agreement.

   Transactions with Affiliates. BCBG IP Co shall not enter into any transaction concerning the
   Intellectual Property with any affiliate of BCBG IP Co or any entity in which Marque has an economic
   interest without the written consent of Allerton other than arm’s length sales.


8. GENERAL.


   Arbitration; Court Actions.


  (a) Except for injunctive relief sought by either Party, all disputes, controversies and claims arising out
      of or relating to this Agreement shall be referred to and finally resolved by arbitration in New York
      City before a Commercial Panel of three arbitrators conducted in accordance with and pursuant to
      the then existing Commercial Arbitration Rules of the American Arbitration Association, which
      shall administer the arbitration. The arbitrators, in their discretion, may award specific performance
      or injunctive relief (but not punitive damages) and costs and reasonable attorneys’ fees and
      expenses to any party in any arbitration and the courts also may do so with regard to Court Actions.
      However, in any arbitration proceeding, the arbitrators may not change, modify or alter any express
      condition, term or provision hereof, and to that extent the scope of their authority is expressly
      limited. The arbitration award shall be final and binding upon the parties and judgment may be
      entered thereon in any court having jurisdiction.


  (b) Court actions (to the extent permitted by this Agreement) shall be brought by BCBG IP Co or
      Allerton in any Federal or state court located in New York City. Each Party irrevocably submits
      to the jurisdiction of the Federal and state courts located in New York City with respect to any such
      court action and waives any claim or defense of inconvenient forum or lack of personal jurisdiction
      in such forum under any applicable law or decision or otherwise.


  (c) EACH PARTY HEREBY KNOWINGLY, VOLUNTARILY AND INTENTIONALLY
      WAIVES, TO THE FULLEST EXTENT PERMITTED BY LAW, ANY RIGHTS IT MAY HAVE
      TO A TRIAL BY JURY IN RESPECT OF ANY CLAIM, DEMAND, ACTION, CAUSE OF
      ACTION OR LITIGATION BASED ON, ARISING OUT OF OR IN ANY WAY CONNECTED
      WITH THIS AGREEMENT, ANY OF THE TRANSACTIONS OR ANY RELATED DEALINGS
      OF ANY OF THE PARTIES, IN ANY CASE WHETHER NOW EXISTING OR HEREAFTER
      ARISING, AND WHETHER IN CONTRACT, TORT, EQUITY, OR OTHERWISE. THIS
      PROVISION IS A MATERIAL INDUCEMENT FOR THE PARTIES TO ENTER INTO THIS
      AGREEMENT. EACH PARTY HEREBY AGREES THAT ANY SUCH CLAIM, DEMAND,
      ACTION, OR CAUSE OF ACTION WILL BE DECIDED, IF BY A TRIAL, BY A COURT
      TRIAL WITHOUT A JURY AND THAT THE PARTIES MAY FILE AN ORIGINAL
      COUNTERPART OF A COPY OF THIS AGREEMENT WITH ANY COURT AS WRITTEN
      EVIDENCE OF THE CONSENT OF THE PARTIES TO THE WAIVER OF THEIR RIGHT TO
      TRIAL BY JURY.




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   Entire Agreement. This Agreement and its exhibits constitute the entire understanding and agreement
   of the Parties with respect to the subject matter and supersede all prior and contemporaneous
   agreements or understandings, whether written or oral, between the Parties with respect to subject
   matter hereof.


   Relationship Between the Parties. This Agreement will not establish any relationship of partnership,
   joint venture or agency between Allerton and BCBG IP Co.


   Counterparts. This Agreement may be executed in one or more counterparts, each of which will be
   deemed an original, but which collectively shall constitute one and the same instrument.


   Interpretation. The unenforceability of any provision of this Agreement shall not impair the
   enforceability of any other part of this Agreement. If any provision of this Agreement shall be deemed
   invalid or unenforceable, in whole or in part, this Agreement shall be deemed amended to delete or
   modify, as necessary, the invalid or unenforceable provision to render it valid, enforceable and, insofar
   as possible, consistent with the original intent of the Parties.


   Waiver. The failure of a Party at any time to require performance of any obligations of the other Party
   shall not be deemed a waiver and shall not affect its right to enforce any provision of this Agreement
   at a subsequent time. Written agreement by both Parties is required to waive the observance of any
   term of this Agreement.


   Headings. The section titles in the Agreement are for convenience only and have no legal or
   contractual effect.


   Assignment. This Agreement shall be binding upon, and inure to the benefit of, the permitted
   successors and assigns of the Parties. Each party must obtain the other party’s written consent prior
   to assigning this Agreement to any third party, provided that no consent of Allerton shall be required
   in connection with a transfer of this Agreement in a transaction for a sale or transfer of all or
   substantially all of the Intellectual Property made in accordance with Section 7.2 hereof.


   Obligations Unsecured. BCBG IP Co’s obligations under this Agreement shall and remain unsecured
   obligations throughout the Term.


    Amendment. Written agreement by both Parties is required to amend any term or provision of this
   Agreement.




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FOLLOWING PAGE]




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IN WITNESS WHEREOF, the Parties have executed this Agreement as of the Effective Date.


[BCBG IP Co]                                        ALLERTON FUNDING, LLC




Signature:                                          Signature:


Name:                                               Name:


Title:                                              Title:


Date:                                               Date:




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                                                 Exhibit E

                                          Wind Down Budget1




1
    The Debtors have not included this document in this Plan Supplement filing as it remains subject to ongoing
    negotiation between the Debtors and the New Tranche A Lenders. The Debtors will amend the Plan Supplement
    to include the form of this document as soon as reasonably practicable if and when agreement is reached.
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                                                   Exhibit F

                         The Transition Services Agreement Between the
                       OpCo Purchaser and the Post-Effective Date Debtors1




1
    This document is filed in draft form only. It remains subject to ongoing review and revision by the Debtors and
    the OpCo Purchaser and, therefore, remains subject to material change. The Debtors will amend the Plan
    Supplement to include any revised form of this document as soon as reasonably practicable if and when
    agreement is reached.
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                                                                                         DRAFT


                             TRANSITION SERVICES AGREEMENT

                This TRANSITION SERVICES AGREEMENT (this “Agreement”), dated as of
July [•], 2017, is entered into by and between BCBG Max Azria Global Holdings, LLC, a
Delaware limited liability company, on behalf of itself and the other Seller Parties under the
Asset Purchase Agreement (other than CA Seller) (collectively, “BCBG”) and GBG USA Inc., a
Delaware corporation (“Buyer”). Buyer and BCBG are sometimes referred to herein
individually as a “Party” and collectively as the “Parties”. Capitalized terms used herein and
not otherwise defined shall have the meanings as set forth in the Asset Purchase Agreement (as
defined below).

               WHEREAS, Buyer and BCBG entered into an Asset Purchase Agreement, dated
as of June 9, 2017 (the “Asset Purchase Agreement”), pursuant to which BCBG agreed to sell
and assign to Buyer, and Buyer agreed to purchase and assume from BCBG, the Acquired Assets
and Assumed Liabilities; and

               WHEREAS, in order to assist in the transition of the Purchased Assets to Buyer
and as a condition to consummating the transactions contemplated by the Asset Purchase
Agreement, Buyer and BCBG have agreed to enter into this Agreement, pursuant to which
BCBG agrees to provide Buyer with certain services on a transitional basis and subject to the
terms and conditions set forth herein.

                NOW, THEREFORE, in consideration of the mutual agreements and covenants
hereinafter set forth, Buyer and BCBG hereby agree as follows.

                Section 1.     Transition Services.

                (a)    Prior to the Closing Date, Buyer shall provide to BCBG (i) a schedule of
the Employees (as defined below) that Buyer will hire (such Employees, the “Hired
Employees”), (ii) a schedule of the Employees that Buyer will not be hiring but whose services
Buyer will need to provide transition services as contemplated hereunder (the “Transition
Employees”) and (iii) an indication as to whether Buyer will need BCBG's Chief Financial
Officer (who is a contractor for BCBG) to provide Transition Services (such CFO, if so
indicated, together with the Hired Employees and the Transition Employees, the “TSA
Personnel”). BCBG may rely on the fact that Buyer will not be hiring any Employees that are
not Hired Employees and proceed accordingly (including terminating, at BCBG's discretion, any
Employees that are not TSA Employees). Prior to September 30, 2017, Buyer will hire the Hired
Employees and will put the Hired Employees on its payroll and enroll them in Buyer’s benefit
plans. During the Transition Period, until such time as Buyer is able to put the Hired Employees
on its payroll and enroll them in Buyer’s benefits plans, Buyer shall pay all Employee Costs as
contemplated in Section 1(b) below.

                (b)    From the date hereof until September 30, 2017 (or such shorter period as
determined by Buyer by providing BCBG with at least [ten (10)] Business Days’ prior written
notice; provided that in no event will such period be shorter than the date on which all Hired
Employees are actually hired by Buyer and actually put on its payroll and enrolled in Buyer’s
benefit plans) (such period of time, the “Transition Period”), prior to the date on which payroll



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is to be paid by, or deducted from, BCBG to the payroll service provider for any weekly (or
other) payroll period, Buyer shall pay directly to BCBG’s payroll service provider (or such other
Person designated by BCBG) an amount in cash equal to all TSA Personnel-related costs and
expenses for such payroll period, including, but not limited to, all compensation, benefits
(including, but not limited to, health and welfare benefits), workers’ compensation insurance,
withholding and other (whether employer or employee) Taxes, employer and employee
contributions, as well as all other employment-related obligations and the fees and expenses of
such payroll service provider or other applicable third parties, as applicable (collectively, the
“Employee Costs”). BCBG shall provide to Buyer wire instructions, the date payment by Buyer
of Employee Costs for the applicable payroll period is due and the estimated amount of such
Employee Costs for such payroll period to:

               David Lewis (davidlewis@globalbrandsgroup.com); and

               Brandon Carrey (brandoncarrey@globalbrandsgroup.com)

by electronic mail at least two (2) Business Days prior to the date on which any such payment by
Buyer is due. If the estimated Employee Costs for any payroll period are greater or less than the
actual Employee Costs for such payroll period, then such excess or shortage shall be deducted
from or added to, as applicable, the Employee Costs payment amount to be made by Buyer to
BCBG for the subsequent payroll period.

                (c)     Buyer shall be responsible for and shall pay (or shall reimburse BCBG)
for all costs and expenses relating to or arising out of any health and welfare plans covering any
Employees (including any dependents or beneficiaries thereof), including any COBRA
Participants (collectively the “H&W Participants”) during the Transition Period in accordance
with Annex I and following termination of the applicable health or welfare plans of BCBG,
Buyer will be responsible for all COBRA obligations related thereto. For purposes of this
Agreement, the term COBRA Participant shall mean each Employee (and any dependent or
beneficiary thereof) who incurs a COBRA qualifying event after the date hereof and is entitled to
COBRA continuation coverage under the BCBG health and welfare plans.

               (d)     Schedule 1(d) sets forth, as of the date indicated therein, a list of all BCBG
employees, listed by their employee ID number (on a no-name basis) (other than those retail
employees that do not work at any of the Acquired Retail Stores) (the “Employees”) and
indicates each employee’s service date (in accordance with BCBG policy and past practice),
whether such employee is salary or hourly, hourly base compensation rate, vacation accrual rate,
vacation and accrual balance as of [____], and location of employment.

                (e)    During the Transition Period, BCBG will make the TSA Personnel
available to Buyer to provide the services that they currently provide to the Business or such
other services as Buyer may reasonably request.

                (f)    During the Transition Period, the TSA Personnel will work at the direction
of Buyer. Buyer will indemnify, defend and hold harmless BCBG, its Subsidiaries, and their
officers, directors, employees (except for the TSA Personnel), agents and representatives against
any and all claims, causes of action, demands, penalties, losses, liabilities, damages or other



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obligations, including, without limitation, reasonable attorneys’ fees and expenses, for any and
all acts of the TSA Personnel.

               (g)     During the Transition Period, BCBG shall not, without the prior consent
of Buyer (not to be unreasonably withheld, delayed or conditioned), (i) increase the rate of
compensation for any TSA Personnel except for merit raises, cost of living increases or
otherwise, in each case, in accordance with BCBG’s past practice, (ii) alter any employment
agreement with any TSA Personnel, (iii) adopt or amend any employee benefit plan, bonus plan
or severance plan affecting the TSA Personnel or (iv) hire or offer to hire any individual that
would be required to be listed on Schedule 1(d) if such individual had been hired prior to the date
of Schedule 1(d); provided that if any such individual is hired with Buyer's consent, such
individual shall be deemed to be a Hired Employee or Transition Employee, as applicable, for all
purposes hereunder.

               (h)     At any time during the Transition Period, Buyer shall have the option to
offer employment to any and/or all of the Employees on terms and conditions which, in the
aggregate, are comparable to the terms and conditions of such Employee’s employment with
BCBG as of the date hereof (such offers not to be lower than such Employee’s current overall
compensation); provided, however, Buyer is under no obligation to offer employment to any
Employee. Offers made by Buyer shall be subject to such Employees providing documentary
evidence that they are legally authorized to work in the jurisdiction where they are employed
(such as proof of residency or citizenship, work permit, etc.). Upon an Employee accepting
Buyer’s offer of employment, such Employee shall become a Hired Employee. After the
Transition Period, Buyer shall no longer be obligated to reimburse BCBG for Employee Costs.
All termination costs and expenses (the “Termination Costs”) incurred as a result of Buyer not
offering employment to any Employee (other than any Hired Employees) shall be borne by
BCBG; provided, however, the Parties shall work together to ensure that Termination Costs do
not exceed $2,200,000.

                (i)     As it relates to Hired Employees, Buyer shall comply with all laws
applicable to, and hereby assumes all liabilities as, a successor employer. Without limiting the
general obligation of the foregoing, Buyer shall recognize the years of service of each Hired
Employee, based on his or her service date (in accordance with BCBG policy and past practice)
as set forth on Schedule 1(d), for purposes of eligibility, vesting and benefit accrual under the
plans, programs and arrangements of Buyer relating to compensation and employee benefit
plans, subject to the terms and conditions of Buyer’s employee benefit plans and in a manner
consistent with Buyer’s benefit practices.

               (j)     Without limiting Section 1(f), until such time as any Employee is actually
hired by Buyer or is terminated by BCBG (or its Affiliates), such Employee will remain an
employee of BCBG (or such Affiliates), as applicable, and shall not be deemed to be employees
of Buyer for any purpose (except the Hired Employees).

                (k)     If Buyer requests in writing, and BCBG agrees to provide or make
available, any other service, lease, contract, asset, insurance policy or any other employee during
or after the Transition Period, Buyer will bear the full costs and expenses thereof and shall pay or
reimburse BCBG for all costs and expenses related thereto or arising in connection therewith.


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               (l)     Buyer will pay, or reimburse BCBG for the payment of the following
insurance premiums that are due and payable with respect to the Transition Period: [General
Liability, Automobile, Umbrella, Foreign Package, Workers Compensation and Local Canadian
Liability]. During the Transition Period, Buyer will maintain, with respect to the Business, with
protections and coverages consistent with the past practice of the Business, General Liability,
Automobile, Umbrella, Property and Cargo insurance policies.

                Section 2.      Cooperation; Wrong Pockets.

                (a)    Buyer will make Employees and the headquarters and distribution center
reasonably available during business hours to BCBG and its Subsidiaries, at no cost to BCBG,
during and after the Transition Period for purposes of the winding down of BCBG and its
Subsidiaries, including, but not limited to, preparation and provision of books and records, sale
by BCBG and its Subsidiaries of any Excluded Assets (including located therein), collection of
receivables and identification and separation of assets.

                 (b)      If, following the Closing, any right, property or asset not forming part of
the Acquired Assets is found to have been transferred to or received by Buyer in error or any
right, property or asset forming part of the Acquired Assets is found not to have been transferred
to or received by Buyer in error, Buyer or BCBG, as applicable, shall transfer, or shall cause its
affiliates to transfer, at no cost, to the other Party or its Affiliates, such right, property or asset as
soon as practicable.

                Section 3.      Limitation of Liability; Disclaimer of Warranties.

           (a)  TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW,
AND EXCEPT FOR ANY BREACHES OF EITHER PARTY’S CONFIDENTIALITY OR
INDEMNIFICATION OBLIGATIONS HEREUNDER, IN NO EVENT SHALL EITHER
PARTY HAVE ANY LIABILITY UNDER ANY PROVISION OF THIS AGREEMENT,
INCLUDING ANY LIABILITY FOR CONSEQUENTIAL OR OTHER INDIRECT
DAMAGES, INCLUDING FOR ANY LOSS OF PROFITS, REVENUE, BUSINESS
REPUTATION OR OPPORTUNITY, ANY DIMINUTION OF VALUE, OR ANY DAMAGES
(EACH OF WHICH IS HEREBY DISCLAIMED) ARISING FROM OR RELATED TO THE
SERVICES PROVIDED HEREUNDER OR THIS AGREEMENT, EXCEPT FOR AND TO
THE EXTENT OF ANY DIRECT DAMAGES TO A PARTY CAUSED BY THE GROSS
NEGLIGENCE OR WILLFUL MISCONDUCT OF THE OTHER PARTY IN ITS
PERFORMANCE UNDER THIS AGREEMENT.

             (b)  (I) BCBG DOES NOT GUARANTEE OR WARRANT THE
TRANSITION SERVICES TO BE PROVIDED HEREUNDER, (II) THE TRANSITION
SERVICES SHALL BE PROVIDED ON AN “AS IS” AND “WITH ALL FAULTS” BASIS
AND (III) THERE ARE NO, AND BUYER IS NOT RELYING ON ANY, EXPRESS OR
IMPLIED WARRANTIES OR GUARANTEES OF ANY KIND, INCLUDING ANY
WARRANTY OF MERCHANTABILITY, NONINFRINGEMENT OR FITNESS FOR A
PARTICULAR PURPOSE, AND ALL SUCH WARRANTIES ARE EXPRESSLY
DISCLAIMED.




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               (c)     The Parties acknowledge that the foregoing limitations of liability are an
essential element of this Agreement and that in their absence the pricing and other terms of this
Agreement would be substantially different.

                 Section 4.    Notices. All notices, requests, consents, claims, demands, waivers
and other communications hereunder shall be in writing and shall be deemed to have been given
(a) when delivered by hand (with written confirmation of receipt); (b) when received by the
addressee if sent by a nationally-recognized overnight courier (return receipt requested); (c) on
the date sent by e-mail of a PDF document (with confirmation of transmission) if sent during
normal business hours of the recipient, and on the next business day if sent after normal business
hours of the recipient or (d) on the third day after the date mailed, by certified or registered mail,
return receipt requested, postage prepaid. Such communications must be sent to the respective
parties at the following addresses (or at such other address for a Party as shall be specified in a
notice given in accordance with this Section 4).

           If to BCBG, to:                   BCBG Max Azria Global Holdings, LLC
                                             2761 Fruitland Avenue
                                             Vernon, California 90058
                                             Attention: Holly Etlin, Chief Restructuring
                                             Officer
                                             Email: hetlin@alixpartners.com

           with a copy (which shall not      Kirkland & Ellis LLP
           constitute notice) to:            300 North LaSalle Street
                                             Chicago, Illinois 60654
                                             Attention: Steve Toth
                                                        Benjamin Rhode
                                             Email:     steve.toth@kirkland.com
                                                        benjamin.rhode@kirkland.com

                                             AND

                                             Kirkland & Ellis LLP
                                             601 Lexington Avenue
                                             New York, New York 10022
                                             Attention: Joshua A. Sussberg, P.C.
                                             Email:     joshua.sussberg@kirkland.com

           If to Buyer, to:                  GBG USA Inc.
                                             Empire State Building
                                             350 Fifth Ave.
                                             New York, New York 10118
                                             Attention: Robert K. Smits,
                                             Executive Vice President and General Counsel
                                             Email:     robertsmits@globalbrandsgroup.com

           with a copy (which shall not      Reed Smith LLP


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           constitute notice) to:           599 Lexington Avenue
                                            New York, New York 10020
                                            Attention: Sahra Dalfen, Esq.
                                            Email:     sdalfen@reedsmith.com


                Section 5.      Headings. The headings in this Agreement are for reference only
and shall not affect the interpretation of this Agreement.

                Section 6.     Severability. If any term or provision of this Agreement is invalid,
illegal or unenforceable in any jurisdiction, such invalidity, illegality or unenforceability shall
not affect any other term or provision of this Agreement or invalidate or render unenforceable
such term or provision in any other jurisdiction.

                Section 7.      Entire Agreement. This Agreement and the documents to be
delivered hereunder constitute the sole and entire agreement of the Parties to this Agreement
with respect to the subject matter contained herein, and supersede all prior and contemporaneous
understandings and agreements, both written and oral, with respect to such subject matter, other
than the Asset Purchase Agreement. In the event of any inconsistency between the statements in
the body of this Agreement and the documents to be delivered hereunder, the statements in the
body of this Agreement including the Schedules will control; provided that, for the avoidance of
doubt, in the case of conflict between the terms of this Agreement and the Asset Purchase
Agreement, the terms of the Asset Purchase Agreement shall control.

               Section 8.       Successors and Assigns. This Agreement shall be binding upon
and shall inure to the benefit of the Parties hereto and their respective successors and permitted
assigns. Neither Party may assign its rights or obligations hereunder without the prior written
consent of the other Party, which consent shall not be unreasonably withheld or delayed.

                Section 9.      No Third-party Beneficiaries. This Agreement is for the sole
benefit of the Parties hereto and their respective successors and permitted assigns and nothing
herein, express or implied, is intended to or shall confer upon any other person or entity any legal
or equitable right, benefit or remedy of any nature whatsoever under or by reason of this
Agreement.

            Section 10. Amendment and Modification. This Agreement may only be
amended, modified or supplemented by an agreement in writing signed by each Party hereto.

                Section 11. Waiver. No waiver by any Party of any of the provisions hereof
shall be effective unless explicitly set forth in writing and signed by the Party so waiving. No
waiver by any Party shall operate or be construed as a waiver in respect of any failure, breach or
default not expressly identified by such written waiver, whether of a similar or different
character, and whether occurring before or after such waiver. No failure to exercise or delay in
exercising any right, remedy, power or privilege arising from this Agreement shall operate or be
construed as a waiver thereof, nor shall any single or partial exercise of any right, remedy, power
or privilege hereunder preclude any other or further exercise thereof or the exercise of any other
right, remedy, power or privilege.


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               Section 12. Governing Law. Except to the extent the mandatory provisions of
the Bankruptcy Code apply, this Agreement and any disputes arising under or relate hereto
(whether for breach of contract, tortious conduct or otherwise) shall be governed by and
construed in accordance with the internal laws of the State of New York without giving effect to
any choice or conflict of Law provision or rule (whether of the State of New York or any other
jurisdiction).

                Section 13. Submission to Jurisdiction. Without limitation of either Party’s
right to appeal any order of the Bankruptcy Court, each Party irrevocably agrees that any
proceedings against them arising out of or in connection with this Agreement or the transactions
contemplated by this Agreement or disputes relating hereto (whether for breach of contract,
tortious conduct or otherwise) shall be brought exclusively in the United States Bankruptcy
Court for the Southern District of New York or, if the Bankruptcy Case is closed, in the United
States District Court for the Southern District of New York in the county of New York, and each
Party irrevocably submits to the exclusive jurisdiction of such courts in personam with respect to
any such proceeding and waives to the fullest extent permitted by Law any objection that it may
now or hereafter have that any such proceeding has been brought in an inconvenient forum.

            Section 14. Waiver of Jury Trial. EACH PARTY ACKNOWLEDGES AND
AGREES THAT ANY CONTROVERSY THAT MAY ARISE UNDER THIS AGREEMENT
IS LIKELY TO INVOLVE COMPLICATED AND DIFFICULT ISSUES AND, THEREFORE,
EACH PARTY IRREVOCABLY AND UNCONDITIONALLY WAIVES ANY RIGHT IT
MAY HAVE TO A TRIAL BY JURY IN RESPECT OF ANY LEGAL ACTION ARISING
OUT OF OR RELATING TO THIS AGREEMENT OR THE TRANSACTIONS
CONTEMPLATED HEREBY.

               Section 15. Specific Performance. The Parties agree that irreparable damage
would occur if any provision of this Agreement were not performed in accordance with the terms
hereof and that the Parties shall be entitled to seek specific performance of the terms hereof, in
addition to any other remedy to which they are entitled by Law or in equity.

                Section 16. Counterparts. This Agreement may be executed in counterparts,
each of which shall be deemed an original, but all of which together shall be deemed to be one
and the same agreement. A signed copy of this Agreement delivered by facsimile, e-mail or
other means of electronic transmission shall be deemed to have the same legal effect as delivery
of an original signed copy of this Agreement.

                                   [Signature Page Follows.]




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        IN WITNESS WHEREOF, the Parties have executed and delivered this Agreement as of
the date first above written.



BUYER:                                                    BCBG:


GBG USA INC.                                              BCBG Max Azaria Global Holdings, LLC


By:                                                       By:
      Name:                                                     Name:
      Title:                                                    Title:




[Signature Page to Transition Services Agreement]
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                                                 Annex I

                                     Health and Welfare Benefits

BCBG shall provide continued administration of and health and welfare benefits coverage to H&W
Participants during the Transition Period in BCBG’s health and welfare plans as as may be in effect
during the Transition Period (the “H&W Plans”).

Detailed Description of Services:

Participation in the H&W Plans by H&W Participants will be in accordance with (and limited to) the plan
provisions in effect for BCBG employees covered by the plans on the date hereof. BCBG will process all
third party actions and subrogation consistent with the then current terms of the plan and its own past
practice under the plans.

Nothing in this Agreement is intended to limit or modify BCBG’s ability to amend, modify or terminate
the H&W plans at any time and in their sole discretion.

Cost of Service:

                        (a)     With respect to each H&W Participant, Buyer will pay BCBG (i) with
       respect to any H&W Plan that is a self-insured health plan, all claims up to any applicable
       reinsurance or stop-loss insurance policy attachment point, and any other out of pocket costs and
       expenses incurred by BCBG on or after the Closing Date through the Transition Period in
       connection with such plans (including, without limitation, any reinsurance premiums,
       administration fees in respect of such plans;) attributable to H&W Participants (collectively, the
       “Self-Insurance Costs”), (ii) all premiums paid to carriers for fully insured plans on or after the
       Closing Date through the Transition Period and (iii) any other any other out of pocket costs and
       expenses incurred by BCBG during the Transition Period in connection with such plans
       attributable to H&W Participants. For purposes of this Section Agreement, a claim is
       deemed to be incurred: (X) with respect to medical, dental, vision and/or prescription
       drug benefits, on the date the health services giving rise to such claim are rendered; (Y)
       with respect to life insurance, accidental death and dismemberment and business travel
       accident insurance, on the date the event giving rise to such claim occurs; and (Z) with
       respect to disability benefits, on the date a person’s disability begins, as determined by
       the disability benefit insurance carrier or claim administrator, giving rise to such claim.

                        (b)     BCBG will provide a monthly billing of the amount of any (i) claims
       under any self-insurance H&W Plan, (ii) the amount of premiums applicable to the H&W
       Participants under any fully insured benefit plans and (iii) any other costs as set forth in
       subsection (a) above.

                        (c)      Buyer will pay BCBG for all such billed costs within two (2) business
       days after receipt. For the avoidance of doubt, Buyer shall remain liable for payments that are
       required hereunder, even after the expiration of the Transition Period (to the extent attributable to
       premiums, costs, expenses or claims incurred or made in or with respect to the Transition Period).
